       3:17-cv-03279-SEM-TSH # 136              Page 1 of 3                                       E-FILED
                                                        Thursday, 06 June, 2019 11:51:03 PM
                        IN THE UNITED STATES DISTRICT COURT Clerk, U.S. District Court, ILCD
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

Jacqueline Farris,                          )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )                 No. 17-3279-SEM-TSH
                                            )
Erik Kohlrus, et al.,                       )
                                            )
       Defendants.                          )

                       MOTION FOR EXTENSION OF TIME
            TO RESPOND TO PLAINTIFF’S MOTION TO COMPEL (DOC. 132)

       Defendants, Alex Adams, Addison Ahart, Norine Ashley, James Barry, Jennifer Billington,

Christine Brannon, Clara M. Charron, James Davis, Mark Delia, Mike Funk, Jeffrey Gabor,

Illinois Department Of Corrections, Lisa Johnson, Travis Jones, Patrick Keane, Dillion Kearney,

William T. Lemon, Angela Locke, Matthew Mitchey, Alan Pasley, Jose Rivera, William Roberts,

Zachary Sapp, Trina Snyder, Sean Whelton, Jasmin Woolfolk, and Felipe Zavala, through their

attorney, Kwame Raoul, Attorney General for the State of Illinois, pursuant to Federal Rule of

Civil Procedure 6(b), move for an extension of time to respond to Plaintiff’s motion to compel

(doc. 132), stating as follows:

   1. On May 23, 2019, Plaintiff filed a motion to compel seeking a court order compelling

       Defendants to provide certain supplemental discovery materials by June 6, 2019. (Doc.

       132.)

   2. Defendants are actively working to provide these materials. As of filing this motion,

       Defendants have addressed many of the issues raised in Plaintiff’s motion.

   3. However, Defendants require additional time to address all of the issues in Plaintiff’s

       motion.

   4. Defendants anticipate that the remaining issues can be addressed by June 13, 2019.
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   5. Accordingly, Defendants respectfully request an additional week, up to and including June

       13, 2019, to provide a response to Plaintiff’s motion. Defendants anticipate their response

       will obviate the need for the Court to take any additional action concerning these discovery

       materials.

   6. Due to the late hour of the filing of this motion, counsel for Defendants was unable to

       contact counsel for Plaintiff concerning the requested extension.

       WHEREFORE, for the above reasons, Defendants respectfully request this honorable

Court grant their motion and extend the time for them to respond to Plaintiff’s motion (doc. 132).

                                                 Respectfully submitted,

                                                 Alex Adams, et al.,

                                                    Defendants,

                                                 Kwame Raoul, Illinois Attorney General,
Jeremy C. Tyrrell, #6321649
Assistant Attorney General                          Attorney for Defendants,
500 South Second Street
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(217) 785-4555 Phone                             By: s/Jeremy C. Tyrrell
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                         THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

Jacqueline Farris,                          )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )                 No. 17-3279-SEM-TSH
                                            )
Erik Kohlrus, et al.,                       )
                                            )
       Defendants.                          )

                               CERTIFICATE OF SERVICE

        I hereby certify that on June 6, 2019, the foregoing document, Motion for Extension of
Time to Respond to Plaintiff’s Motion to Compel (Doc. 132), was electronically filed with the
Clerk of Court using the CM/ECF system which will send notification of such filing to all counsel
of record.

                                                     Respectfully Submitted,

                                                      s/Jeremy C. Tyrrell
                                                     Jeremy C. Tyrrell, #6321649
                                                     Assistant Attorney General




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